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         Exhibit B
                                                                         CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 2 of 20



                                          "Bucket 1" Cases ‐ Filing outside the statute of repose period based on date of index surgery
                                                                 (CT, FL, GA, IL, IN, IA, KS, NC, OH, TN, TX, and WI)
Case No.                Plaintiffs' Last Name   Plaintiffs' First Name     State of Surgery   Date of Surgery          Date of Case Filing   Plaintiffs' Counsel’s Firm                                                  Plaintiffs Response to
                                                                                                                                                                                                                          Application of SOR
                                                                                                                                                                                      Plaintiffs' Response to Dates
0:16‐cv‐02088‐JNE‐DTS   Duncan                  William                    Tennessee          6/16/2010                6/23/2016             Skikos Crawford Skikos & Joseph
                                                                                                                                                                                                                      Less than 10 years between
                                                                                                                                                                                                                      index and filing. Tennessee –
                                                                                                                                                                                                                      6/10 years
                                                                                                                                                                                                                      T.C.A. § 29‐28‐103Plaintiffs
                                                                                                                                                                                                                      note their agreement to
                                                                                                                                                                                                                      using 10 year SOR for
                                                                                                                                                                                                                      purposes of this exercise is
                                                                                                                                                                                                                      predicated in part on
                                                                                                                                                                                                                      Defendants’ representation
                                                                                                                                                                                                                      that the relevant index
                                                                                                                                                                                                                      surgery will be the triggering
                                                                                                                                                                                    Agree with dates 3M listed.       event for Tennessee.
0:16‐cv‐02125‐JNE‐DTS   Milam                   Jeffie                     Tennessee          4/1/2009                 6/24/2016             Kennedy Hodges, LLP                                                      Less than 10 years between
                                                                                                                                                                                    Agree with dates 3M listed.       index and filing.
0:16‐cv‐02155‐JNE‐DTS   Davis                   Patricia L.                Tennessee          2/23/2007                6/24/2016             Kennedy Hodges, L.L.P.                                                   Less than 10 years between
                                                                                                                                                                                    Agree with dates 3M listed.       index and filing.
0:16‐cv‐02298‐JNE‐DTS   Dandrea                 Mario                      Tennessee          2/23/2010                7/1/2016              Levin, Papantonio, Thomas, Mitchell,                                     Less than 10 years between
                                                                                                                                             Rafferty, Proctor P.A.                 Agree with dates 3M listed.       index and filing.
0:16‐cv‐02386‐JNE‐DTS   Hall                    Claudia J.                 Tennessee          7/9/2009                 7/11/2016             Miller Firm LLC                                                          Less than 10 years between
                                                                                                                                                                                    Agree with dates 3M listed.       index and filing.
0:16‐cv‐02428‐JNE‐DTS   King Jr                 Walter H                   Tennessee          6/23/2008                7/15/2016             Kennedy Hodges                                                           Less than 10 years between
                                                                                                                                                                                    Agree with dates 3M listed.       index and filing.
0:16‐cv‐02460‐JNE‐DTS   Scruggs                 Jimmy L.                   Tennessee          4/9/2010                 7/19/2016             Lockridge, Grindal                                                       Less than 10 years between
                                                                                                                                                                                                                      index and filing.
0:16‐cv‐02486‐JNE‐DTS   Canup                   Lois A.                    Tennessee          2/26/2009                7/21/2016             Kennedy Hodges                                                           Less than 10 years between
                                                                                                                                                                                    Agree with dates 3M listed.       index and filing.
0:16‐cv‐02911‐JNE‐DTS   Snider                  Janice                     Tennessee          4/26/2010                8/29/2016             Gustafson Gluek                                                          Less than 10 years between
                                                                                                                                                                                    Agree with dates 3M listed.       index and filing.
0:17‐cv‐00427‐JNE‐DTS   Roysdon                 Windle R.                  Tennessee          8/19/2010                2/8/2017              Murray Law Firm                        Sugject surgery was a revision    Less than 10 years between
                                                                                                                                                                                    performed on 11/11/11.            index and filing.
0:17‐cv‐00465‐JNE‐DTS   Varner                  Stephen E.                 Tennessee          9/8/2008                 9/29/2016             Brown & Crouppen                                                         Less than 10 years between
                                                                                                                                                                                    Agree with dates 3M listed.       index and filing.
0:17‐cv‐00616‐JNE‐DTS   Brown                   Alfred                     Tennessee          12/10/2009               2/27/2017             Brown & Crouppen                                                         Less than 10 years between
                                                                                                                                                                                    Agree with dates 3M listed.       index and filing.
0:17‐cv‐01184‐JNE‐DTS   Enz                     Martha                     Illinois           7/21/2006                4/17/2017             Brown & Crouppen                                                         SOR unconstitional in
                                                                                                                                                                                                                      products liability actions.
                                                                                                                                                                                                                      See Best v. Taylor Mach.
                                                                                                                                                                                                                      Works., 689 N.E.2d 1057 (Ill.
                                                                                                                                                                                    Agree with dates 3M listed.       1997)
                                                   CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 3 of 20



0:17‐cv‐01516‐JNE‐DTS   Lawson         Albert        Illinois        11/11/2004        5/9/2017    Brown & Crouppen                                   SOR unconstitional in
                                                                                                                                                      products liability actions.
                                                                                                                                                      See Best v. Taylor Mach.
                                                                                                                                                      Works., 689 N.E.2d 1057 (Ill.
                                                                                                                        Agree with dates 3M listed.   1997)
0:17‐cv‐01617‐JNE‐DTS   Pilger         Catherine     Illinois        8/31/2004         5/16/2017   Brown & Crouppen                                   SOR unconstitional in
                                                                                                                                                      products liability actions.
                                                                                                                                                      See Best v. Taylor Mach.
                                                                                                                                                      Works., 689 N.E.2d 1057 (Ill.
                                                                                                                        Agree with dates 3M listed.   1997)
0:17‐cv‐01737‐JNE‐DTS   Peacock, Jr.   Claude        Ohio            9/22/2006         5/24/2017   Brown & Crouppen                                   Ohio – 10 years
                                                                                                                                                      O.R.C. § 2305.10(C)(1).
                                                                                                                                                      Should use 12 years, instead
                                                                                                                                                      of 10 years, to avoid this
                                                                                                                                                      exception in the SOR
                                                                                                                                                      statute. “However, if the
                                                                                                                                                      cause of action accrues in
                                                                                                                                                      years 9 or 10, the action may
                                                                                                                                                      be commenced within 2
                                                                                                                                                      years after the action
                                                                                                                        Agree with dates 3M listed.   accrues.”
0:17‐cv‐02058‐JNE‐DTS   Balbach        William       Georgia         1/24/2007         6/14/2017   Pendley, Baudin

                                                                                                                                                      Negligent failure to warn is a
                                                                                                                                                      recgonized exemption to the
                                                                                                                                                      Georgia SOR; as is willful
                                                                                                                                                      negligence, which Mr.
                                                                                                                                                      Balback has asserted against
                                                                                                                                                      3M. Georgia – 10 years
                                                                                                                                                      O.C.G.A. § 51‐1‐11(b)(2)
                                                                                                                                                      Should not be included, as
                                                                                                                                                      this SOR expressly does not
                                                                                                                                                      affect failure to warn claims.
                                                                                                                                                      Given all Georgia cases have
                                                                                                                                                      asserted failure to warn,
                                                                                                                                                      using the SOR to dispose of
                                                                                                                                                      some claims would never
                                                                                                                                                      dispose of an entire case in
                                                                                                                                                      the MDL, Plaintiffs
                                                                                                                                                      respectfully submit it is
                                                                                                                                                      inappropriate to use an SOR
                                                                                                                        Agree with dates 3M listed.   in Georgia for this exercise.
                                                    CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 4 of 20



0:17‐cv‐02270‐JNE‐DTS   Clinkenbeard   Philip         Kansas          7/11/2006         6/26/2017   Brown & Crouppen                                   Kansas – 10 years, K.S.A. 60‐
                                                                                                                                                       513, Statute of repose does
                                                                                                                                                       not apply to latent harms,
                                                                                                                                                       which would include
                                                                                                                                                       infections from the use of a
                                                                                                                         Agree with dates 3M listed.   Bair Hugger device.
0:17‐cv‐02309‐JNE‐DTS   Smith          Barbara J.     Tennessee       3/1/2005          6/27/2017   Brown & Crouppen
                                                                                                                                                       Less than 10 years between
                                                                                                                                                       index and filing. Tennessee –
                                                                                                                                                       6/10 years
                                                                                                                                                       T.C.A. § 29‐28‐103Plaintiffs
                                                                                                                                                       note their agreement to
                                                                                                                                                       using 10 year SOR for
                                                                                                                                                       purposes of this exercise is
                                                                                                                                                       predicated in part on
                                                                                                                                                       Defendants’ representation
                                                                                                                                                       that the relevant index
                                                                                                                                                       surgery will be the triggering
                                                                                                                         Agree with dates 3M listed.   event for Tennessee.
0:17‐cv‐02386‐JNE‐DTS   Krippendorf    Donald         Tennessee       4/13/2011         6/29/2017   Brown & Crouppen
                                                                                                                                                       Less than 10 years between
                                                                                                                                                       index and filing. Tennessee –
                                                                                                                                                       6/10 years
                                                                                                                                                       T.C.A. § 29‐28‐103Plaintiffs
                                                                                                                                                       note their agreement to
                                                                                                                                                       using 10 year SOR for
                                                                                                                                                       purposes of this exercise is
                                                                                                                                                       predicated in part on
                                                                                                                                                       Defendants’ representation
                                                                                                                                                       that the relevant index
                                                                                                                                                       surgery will be the triggering
                                                                                                                         Agree with dates 3M listed.   event for Tennessee.
0:17‐cv‐02416‐JNE‐DTS   Davis          Betty          Illinois        5/23/2005         6/30/2017   Brown & Crouppen                                   SOR unconstitional in
                                                                                                                                                       products liability actions.
                                                                                                                                                       See Best v. Taylor Mach.
                                                                                                                                                       Works., 689 N.E.2d 1057 (Ill.
                                                                                                                         Agree with dates 3M listed.   1997)
                                               CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 5 of 20



0:17‐cv‐02490‐JNE‐DTS   DeMougin   Nancy A.      Indiana         2/7/2007          7/5/2017    Brown & Crouppen                                   Indiana – 10 years, I.C. § 34‐
                                                                                                                                                  20‐3‐1, Should use 12 years,
                                                                                                                                                  instead of 10 years, to avoid
                                                                                                                                                  this exception in the SOR
                                                                                                                                                  statute. “However, if the
                                                                                                                                                  cause of action accrues in
                                                                                                                                                  years 9 or 10, the action may
                                                                                                                                                  be commenced within 2
                                                                                                                                                  years after the action
                                                                                                                    Agree with dates 3M listed.   accrues.”
0:17‐cv‐02560‐JNE‐DTS   Zuniga     Vicente       Ohio            8/13/2004         7/6/2017    Brown & Crouppen                                   Ohio – 10 years, O.R.C. §
                                                                                                                                                  2305.10(C)(1) Should use 12
                                                                                                                                                  years, instead of 10 years, to
                                                                                                                                                  avoid this exception in the
                                                                                                                                                  SOR statute. “However, if
                                                                                                                                                  the cause of action accrues
                                                                                                                                                  in years 9 or 10, the action
                                                                                                                                                  may be commenced within 2
                                                                                                                                                  years after the action
                                                                                                                    Agree with dates 3M listed.   accrues.”
0:17‐cv‐02603‐JNE‐DTS   Frantz     William R     Kansas          9/19/2005         7/7/2017    Brown & Crouppen                                   Kansas – 10 years, K.S.A. 60‐
                                                                                                                                                  513, Statute of repose does
                                                                                                                                                  not apply to latent harms,
                                                                                                                                                  which would include
                                                                                                                                                  infections from the use of a
                                                                                                                    Case was filed 12/23/2016     Bair Hugger device.
0:17‐cv‐02633‐JNE‐DTS   Davis      Kenneth       Indiana         11/7/2005         7/7/2017    Kennedy Hodges                                     Indiana – 10 years, I.C. § 34‐
                                                                                                                                                  20‐3‐1, Should use 12 years,
                                                                                                                                                  instead of 10 years, to avoid
                                                                                                                                                  this exception in the SOR
                                                                                                                                                  statute. “However, if the
                                                                                                                                                  cause of action accrues in
                                                                                                                                                  years 9 or 10, the action may
                                                                                                                                                  be commenced within 2
                                                                                                                                                  years after the action
                                                                                                                    Agree with dates 3M listed.   accrues.”
0:17‐cv‐02634‐JNE‐DTS   Harris     Wanda         Kansas          3/28/2005         7/7/2017    Brown & Crouppen                                   Kansas – 10 years, K.S.A. 60‐
                                                                                                                                                  513, Statute of repose does
                                                                                                                                                  not apply to latent harms,
                                                                                                                                                  which would include
                                                                                                                                                  infections from the use of a
                                                                                                                    Agree with dates 3M listed.   Bair Hugger device.
                                              CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 6 of 20



0:17‐cv‐02685‐JNE‐DTS   Daniels Sr   John H     Kansas           3/9/2007         7/10/2017   Brown & Crouppen                                        Kansas – 10 years, K.S.A. 60‐
                                                                                                                                                      513, Statute of repose does
                                                                                                                                                      not apply to latent harms,
                                                                                                                                                      which would include
                                                                                                                                                      infections from the use of a
                                                                                                                     Subject surgery was 3/28/07      Bair Hugger device.
0:17‐cv‐02733‐JNE‐DTS   Wilkins      Roy        North Carolina   1/1/2004         7/11/2017   Brown & Crouppen                                        North Carolina – 6 years (if
                                                                                                                                                      accrual before 10/1/09);
                                                                                                                                                      12 years (if accrual after
                                                                                                                                                      10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                      46.1, Plaintiffs note their
                                                                                                                                                      agreement to the 12 year
                                                                                                                                                      SOR for purposes of this
                                                                                                                                                      exercise is predicated in part
                                                                                                                                                      on Defendants’
                                                                                                                                                      representation the ‘date of
                                                                                                                                                      initial purchase’ will be any
                                                                                                                     Subject surgery was 6/23/2009;   given plaintiff’s index
                                                                                                                     case was filed 12/23/2016        surgery.
0:17‐cv‐02760‐JNE‐DTS   Green        Irma       Georgia          7/18/2005        7/11/2017   The Olinde Firm, LLC
                                                                                                                                                      Georgia – 10 years, O.C.G.A.
                                                                                                                                                      § 51‐1‐11(b)(2), Should not
                                                                                                                                                      be included, as this SOR
                                                                                                                                                      expressly does not affect
                                                                                                                                                      failure to warn claims. Given
                                                                                                                                                      all Georgia cases have
                                                                                                                                                      asserted failure to warn,
                                                                                                                                                      using the SOR to dispose of
                                                                                                                                                      some claims would never
                                                                                                                                                      dispose of an entire case in
                                                                                                                                                      the MDL, Plaintiffs
                                                                                                                                                      respectfully submit it is
                                                                                                                                                      inappropriate to use an SOR
                                                                                                                                                      in Georgia for this exercise.
                                                                                                                     Agree with dates 3M listed.
0:17‐cv‐02792‐JNE‐DTS   Sons         Mary       Indiana          12/28/2005       7/12/2017   Brown & Crouppen                                        Indiana – 10 years, I.C. § 34‐
                                                                                                                                                      20‐3‐1, Should use 12 years,
                                                                                                                                                      instead of 10 years, to avoid
                                                                                                                                                      this exception in the SOR
                                                                                                                                                      statute. “However, if the
                                                                                                                                                      cause of action accrues in
                                                                                                                                                      years 9 or 10, the action may
                                                                                                                                                      be commenced within 2
                                                                                                                                                      years after the action
                                                                                                                     Agree with dates 3M listed.      accrues.”
                                             CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 7 of 20



0:17‐cv‐02827‐JNE‐DTS   Hamilton   Danny       Ohio            3/11/2005         7/12/2017   Kennedy Hodges, L.L.P.                                 Ohio – 10 years, O.R.C. §
                                                                                                                                                    2305.10(C)(1) Should use 12
                                                                                                                                                    years, instead of 10 years, to
                                                                                                                                                    avoid this exception in the
                                                                                                                                                    SOR statute. “However, if
                                                                                                                                                    the cause of action accrues
                                                                                                                                                    in years 9 or 10, the action
                                                                                                                                                    may be commenced within 2
                                                                                                                                                    years after the action
                                                                                                                      Agree with dates 3M listed.   accrues.”
0:17‐cv‐02828‐JNE‐DTS   Wilson     Tom         Indiana         8/24/2005         7/12/2017   Kennedy Hodges, L.L.P.                                 Indiana – 10 years, I.C. § 34‐
                                                                                                                                                    20‐3‐1, Should use 12 years,
                                                                                                                                                    instead of 10 years, to avoid
                                                                                                                                                    this exception in the SOR
                                                                                                                                                    statute. “However, if the
                                                                                                                                                    cause of action accrues in
                                                                                                                                                    years 9 or 10, the action may
                                                                                                                                                    be commenced within 2
                                                                                                                                                    years after the action
                                                                                                                      Agree with dates 3M listed.   accrues.”
0:17‐cv‐02845‐JNE‐DTS   Weeks      Sheryl      Kansas          4/11/2007         7/13/2017   Brown & Crouppen                                       Kansas – 10 years, K.S.A. 60‐
                                                                                                                                                    513, Statute of repose does
                                                                                                                                                    not apply to latent harms,
                                                                                                                                                    which would include
                                                                                                                                                    infections from the use of a
                                                                                                                      Agree with dates 3M listed.   Bair Hugger device.
0:17‐cv‐02846‐JNE‐DTS   Task       William     Kansas          1/10/2006         7/13/2017   Brown & Crouppen                                       Kansas – 10 years, K.S.A. 60‐
                                                                                                                                                    513, Statute of repose does
                                                                                                                                                    not apply to latent harms,
                                                                                                                                                    which would include
                                                                                                                                                    infections from the use of a
                                                                                                                      agree with dates 3M listed.   Bair Hugger device.
0:17‐cv‐02942‐JNE‐DTS   Harp       John W      Kansas          11/17/2003        7/14/2017   Brown & Crouppen                                       Kansas – 10 years, K.S.A. 60‐
                                                                                                                                                    513, Statute of repose does
                                                                                                                                                    not apply to latent harms,
                                                                                                                                                    which would include
                                                                                                                                                    infections from the use of a
                                                                                                                      Agree with dates 3M listed.   Bair Hugger device.
                                              CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 8 of 20



0:17‐cv‐02950‐JNE‐DTS   Hipp       Donald       Ohio             1/1/2004         7/14/2017   Kennedy Hodges, L.L.P.                                    Ohio – 10 years, O.R.C. §
                                                                                                                                                        2305.10(C)(1) Should use 12
                                                                                                                                                        years, instead of 10 years, to
                                                                                                                                                        avoid this exception in the
                                                                                                                                                        SOR statute. “However, if
                                                                                                                                                        the cause of action accrues
                                                                                                                                                        in years 9 or 10, the action
                                                                                                                                                        may be commenced within 2
                                                                                                                                                        years after the action
                                                                                                                       Date of surgery should be 7/9/04 accrues.”
0:17‐cv‐02970‐JNE‐DTS   Moore      Howard       North Carolina   1/1/2006         7/16/2017   Brown & Crouppen                                          North Carolina – 6 years (if
                                                                                                                                                        accrual before 10/1/09);
                                                                                                                                                        12 years (if accrual after
                                                                                                                                                        10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                        46.1, Plaintiffs note their
                                                                                                                                                        agreement to the 12 year
                                                                                                                                                        SOR for purposes of this
                                                                                                                                                        exercise is predicated in part
                                                                                                                                                        on Defendants’
                                                                                                                                                        representation the ‘date of
                                                                                                                       Date of surgery should be        initial purchase’ will be any
                                                                                                                       10/9/2006; case was filed        given plaintiff’s index
                                                                                                                       12/1/2016                        surgery.
0:17‐cv‐02984‐JNE‐DTS   Campbell   Kenneth      North Carolina   12/6/2005        7/17/2017   Brown & Crouppen                                          North Carolina – 6 years (if
                                                                                                                                                        accrual before 10/1/09);
                                                                                                                                                        12 years (if accrual after
                                                                                                                                                        10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                        46.1, Plaintiffs note their
                                                                                                                                                        agreement to the 12 year
                                                                                                                                                        SOR for purposes of this
                                                                                                                                                        exercise is predicated in part
                                                                                                                                                        on Defendants’
                                                                                                                                                        representation the ‘date of
                                                                                                                                                        initial purchase’ will be any
                                                                                                                                                        given plaintiff’s index
                                                                                                                       Agree with dates 3M listed.      surgery.
0:17‐cv‐02992‐JNE‐DTS   Luttrell   Ricky E.     Ohio             10/11/2006       7/17/2017   Kennedy Hodges, L.L.P.                                    Ohio – 10 years, O.R.C. §
                                                                                                                                                        2305.10(C)(1) Should use 12
                                                                                                                                                        years, instead of 10 years, to
                                                                                                                                                        avoid this exception in the
                                                                                                                                                        SOR statute. “However, if
                                                                                                                                                        the cause of action accrues
                                                                                                                                                        in years 9 or 10, the action
                                                                                                                                                        may be commenced within 2
                                                                                                                                                        years after the action
                                                                                                                       Agree with dates 3M listed.      accrues.”
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0:17‐cv‐02996‐JNE‐DTS   Thompson   Billie         Ohio            8/3/2005          7/17/2017   Kennedy Hodges                                     Ohio – 10 years, O.R.C. §
                                                                                                                                                   2305.10(C)(1) Should use 12
                                                                                                                                                   years, instead of 10 years, to
                                                                                                                                                   avoid this exception in the
                                                                                                                                                   SOR statute. “However, if
                                                                                                                                                   the cause of action accrues
                                                                                                                                                   in years 9 or 10, the action
                                                                                                                                                   may be commenced within 2
                                                                                                                                                   years after the action
                                                                                                                     Agree with dates 3M listed.   accrues.”
0:17‐cv‐03117‐JNE‐DTS   Henry      Theodore L     Illinois        2/12/2007         7/19/2017   Brown & Crouppen                                   SOR unconstitional in
                                                                                                                                                   products liability actions.
                                                                                                                                                   See Best v. Taylor Mach.
                                                                                                                                                   Works., 689 N.E.2d 1057 (Ill.
                                                                                                                     Case was filed 12/13/2016     1997)
0:17‐cv‐03214‐JNE‐DTS   Johnson    Darline M      Illinois        6/16/2005         7/21/2017   Brown & Crouppen                                   SOR unconstitional in
                                                                                                                                                   products liability actions.
                                                                                                                                                   See Best v. Taylor Mach.
                                                                                                                                                   Works., 689 N.E.2d 1057 (Ill.
                                                                                                                     Case was filed 12/13/2016     1997)
0:17‐cv‐03314‐JNE‐DTS   Johnson    Darren V.      Georgia         1/23/2006         7/25/2017   Kennedy Hodges
                                                                                                                                                   Georgia – 10 years, O.C.G.A.
                                                                                                                                                   § 51‐1‐11(b)(2), Should not
                                                                                                                                                   be included, as this SOR
                                                                                                                                                   expressly does not affect
                                                                                                                                                   failure to warn claims. Given
                                                                                                                                                   all Georgia cases have
                                                                                                                                                   asserted failure to warn,
                                                                                                                                                   using the SOR to dispose of
                                                                                                                                                   some claims would never
                                                                                                                                                   dispose of an entire case in
                                                                                                                                                   the MDL, Plaintiffs
                                                                                                                                                   respectfully submit it is
                                                                                                                                                   inappropriate to use an SOR
                                                                                                                                                   in Georgia for this exercise.
                                                                                                                     Agree with dates 3M listed.
                                                  CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 10 of 20



0:17‐cv‐03412‐JNE‐DTS   Quesinberry   Geraldine     Georgia          7/19/2005        7/27/2017   Kennedy Hodges, L.L.P.
                                                                                                                                                         Georgia – 10 years, O.C.G.A.
                                                                                                                                                         § 51‐1‐11(b)(2), Should not
                                                                                                                                                         be included, as this SOR
                                                                                                                                                         expressly does not affect
                                                                                                                                                         failure to warn claims. Given
                                                                                                                                                         all Georgia cases have
                                                                                                                                                         asserted failure to warn,
                                                                                                                                                         using the SOR to dispose of
                                                                                                                                                         some claims would never
                                                                                                                                                         dispose of an entire case in
                                                                                                                                                         the MDL, Plaintiffs
                                                                                                                                                         respectfully submit it is
                                                                                                                                                         inappropriate to use an SOR
                                                                                                                                                         in Georgia for this exercise.
                                                                                                                           Agree with dates 3M listed.
0:17‐cv‐03646‐JNE‐DTS   Benjamin      John R.       Georgia          11/13/2006       8/9/2017    Kennedy Hodges
                                                                                                                                                         Georgia – 10 years, O.C.G.A.
                                                                                                                                                         § 51‐1‐11(b)(2), Should not
                                                                                                                                                         be included, as this SOR
                                                                                                                                                         expressly does not affect
                                                                                                                                                         failure to warn claims. Given
                                                                                                                                                         all Georgia cases have
                                                                                                                                                         asserted failure to warn,
                                                                                                                                                         using the SOR to dispose of
                                                                                                                                                         some claims would never
                                                                                                                                                         dispose of an entire case in
                                                                                                                                                         the MDL, Plaintiffs
                                                                                                                                                         respectfully submit it is
                                                                                                                                                         inappropriate to use an SOR
                                                                                                                                                         in Georgia for this exercise.
                                                                                                                           Agree with dates 3M listed.
0:17‐cv‐03993‐JNE‐DTS   Hughes        Clifford      Illinois         4/7/2006         8/28/2017   Brown & Crouppen                                       SOR unconstitional in
                                                                                                                                                         products liability actions.
                                                                                                                                                         See Best v. Taylor Mach.
                                                                                                                                                         Works., 689 N.E.2d 1057 (Ill.
                                                                                                                           Agree with dates 3M listed.   1997)
0:17‐cv‐04014‐JNE‐DTS   Haynes        Josephine     Ohio             5/24/2007        8/29/2017   Brown & Crouppen                                       Ohio – 10 years, O.R.C. §
                                                                                                                                                         2305.10(C)(1) Should use 12
                                                                                                                                                         years, instead of 10 years, to
                                                                                                                                                         avoid this exception in the
                                                                                                                                                         SOR statute. “However, if
                                                                                                                                                         the cause of action accrues
                                                                                                                                                         in years 9 or 10, the action
                                                                                                                                                         may be commenced within 2
                                                                                                                                                         years after the action
                                                                                                                           Agree with dates 3M listed.   accrues.”
                                                 CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 11 of 20



0:17‐cv‐04088‐JNE‐DTS   Harris       Lawrence      Ohio             6/18/2007        8/31/2017   Kennedy Hodges, L.L.P.                                   Ohio – 10 years, O.R.C. §
                                                                                                                                                          2305.10(C)(1) Should use 12
                                                                                                                                                          years, instead of 10 years, to
                                                                                                                                                          avoid this exception in the
                                                                                                                                                          SOR statute. “However, if
                                                                                                                                                          the cause of action accrues
                                                                                                                                                          in years 9 or 10, the action
                                                                                                                                                          may be commenced within 2
                                                                                                                                                          years after the action
                                                                                                                          Agree with dates 3M listed.     accrues.”
0:17‐cv‐04104‐JNE‐DTS   Trice        Johnny        Ohio             4/1/2004         9/1/2017    Kennedy Hodges                                           Ohio – 10 years, O.R.C. §
                                                                                                                                                          2305.10(C)(1) Should use 12
                                                                                                                                                          years, instead of 10 years, to
                                                                                                                                                          avoid this exception in the
                                                                                                                                                          SOR statute. “However, if
                                                                                                                                                          the cause of action accrues
                                                                                                                                                          in years 9 or 10, the action
                                                                                                                                                          may be commenced within 2
                                                                                                                                                          years after the action
                                                                                                                          Agree with dates 3M listed.     accrues.”
0:17‐cv‐04162‐JNE‐DTS   Harrington   Elizabeth     Connecticut      7/20/2004        9/7/2017    Brown & Crouppen                                         Plaintiff in the process of
                                                                                                                          Subject surgery was 12/6/2005   trying to dismiss this case.
0:17‐cv‐04231‐JNE‐DTS   Elbert       Diane         Indiana          8/2/2006         9/13/2017   Brown & Crouppen                                         Indiana – 10 years, I.C. § 34‐
                                                                                                                                                          20‐3‐1, Should use 12 years,
                                                                                                                                                          instead of 10 years, to avoid
                                                                                                                                                          this exception in the SOR
                                                                                                                                                          statute. “However, if the
                                                                                                                                                          cause of action accrues in
                                                                                                                                                          years 9 or 10, the action may
                                                                                                                                                          be commenced within 2
                                                                                                                                                          years after the action
                                                                                                                          Agree with dates 3M listed.     accrues.”
0:17‐cv‐04252‐JNE‐DTS   Kenny        Charles       Illinois         7/19/2007        9/14/2017   Brown & Crouppen                                         SOR unconstitional in
                                                                                                                                                          products liability actions.
                                                                                                                                                          See Best v. Taylor Mach.
                                                                                                                                                          Works., 689 N.E.2d 1057 (Ill.
                                                                                                                          Agree with dates 3M listed.     1997)
                                                   CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 12 of 20



0:17‐cv‐04302‐JNE‐DTS   Tilley         William       North Carolina   2/23/2005        9/19/2017    The Olinde Firm, LLC                                 North Carolina – 6 years (if
                                                                                                                                                         accrual before 10/1/09);
                                                                                                                                                         12 years (if accrual after
                                                                                                                                                         10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                         46.1, Plaintiffs note their
                                                                                                                                                         agreement to the 12 year
                                                                                                                                                         SOR for purposes of this
                                                                                                                                                         exercise is predicated in part
                                                                                                                                                         on Defendants’
                                                                                                                                                         representation the ‘date of
                                                                                                                                                         initial purchase’ will be any
                                                                                                                                                         given plaintiff’s index
                                                                                                                           Agree with dates 3M listed.   surgery.
0:17‐cv‐04313‐JNE‐DTS   Janet L.       McNease       Tennessee        8/22/2011        9/19/2017    Kirtland Packard                                     Less than 10 years between
                                                                                                                           agree with dates 3M listed.   index and filing.
0:17‐cv‐04394‐JNE‐DTS   Bigsby‐Fritz   Debra         Tennessee        3/10/2011        9/26/2017    Skikos Crawford                                      Less than 10 years between
                                                                                                                           Agree with dates 3M listed.   index and filing.
0:17‐cv‐04413‐JNE‐DTS   Kasson         Julie         Kansas           3/19/2007        9/27/2017    Brown & Crouppen                                     Kansas – 10 years, K.S.A. 60‐
                                                                                                                                                         513, Statute of repose does
                                                                                                                                                         not apply to latent harms,
                                                                                                                                                         which would include
                                                                                                                                                         infections from the use of a
                                                                                                                           Agree with dates 3M listed.   Bair Hugger device.
0:17‐cv‐04469‐JNE‐DTS   Swanson        Colleen       Illinois         4/10/2007        9/28/2017    Seth Webb                                            SOR unconstitional in
                                                                                                                                                         products liability actions.
                                                                                                                                                         See Best v. Taylor Mach.
                                                                                                                                                         Works., 689 N.E.2d 1057 (Ill.
                                                                                                                           Agree with dates 3M listed.   1997)
0:17‐cv‐04484‐JNE‐DTS   White          Bessie L.     Illinois         7/14/2005        9/29/2017    Davis Crump                                          SOR unconstitional in
                                                                                                                                                         products liability actions.
                                                                                                                                                         See Best v. Taylor Mach.
                                                                                                                                                         Works., 689 N.E.2d 1057 (Ill.
                                                                                                                           Agree with dates 3M listed.   1997)
0:17‐cv‐04653‐JNE‐DTS   Pepke          Russell       Ohio             8/29/2006        10/12/2017   Kennedy Hodges                                       Ohio – 10 years, O.R.C. §
                                                                                                                                                         2305.10(C)(1) Should use 12
                                                                                                                                                         years, instead of 10 years, to
                                                                                                                                                         avoid this exception in the
                                                                                                                                                         SOR statute. “However, if
                                                                                                                                                         the cause of action accrues
                                                                                                                                                         in years 9 or 10, the action
                                                                                                                                                         may be commenced within 2
                                                                                                                                                         years after the action
                                                                                                                           Agree with dates 3M listed.   accrues.”
                                               CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 13 of 20



0:17‐cv‐04733‐JNE‐DTS   Gardner     Vinna M.     Ohio             12/1/2005        10/19/2017   Brown & Crouppen                                          Ohio – 10 years, O.R.C. §
                                                                                                                                                          2305.10(C)(1) Should use 12
                                                                                                                                                          years, instead of 10 years, to
                                                                                                                                                          avoid this exception in the
                                                                                                                                                          SOR statute. “However, if
                                                                                                                                                          the cause of action accrues
                                                                                                                                                          in years 9 or 10, the action
                                                                                                                                                          may be commenced within 2
                                                                                                                                                          years after the action
                                                                                                                         Subject surgery was 12/20/2005   accrues.”
0:17‐cv‐04750‐JNE‐DTS   Babb        Douglas      Georgia          7/5/2006         10/20/2017   Davis Crump
                                                                                                                                                          Georgia – 10 years, O.C.G.A.
                                                                                                                                                          § 51‐1‐11(b)(2), Should not
                                                                                                                                                          be included, as this SOR
                                                                                                                                                          expressly does not affect
                                                                                                                                                          failure to warn claims. Given
                                                                                                                                                          all Georgia cases have
                                                                                                                                                          asserted failure to warn,
                                                                                                                                                          using the SOR to dispose of
                                                                                                                                                          some claims would never
                                                                                                                                                          dispose of an entire case in
                                                                                                                                                          the MDL, Plaintiffs
                                                                                                                                                          respectfully submit it is
                                                                                                                                                          inappropriate to use an SOR
                                                                                                                                                          in Georgia for this exercise.
                                                                                                                         Agree with dates 3M listed.
0:17‐cv‐04845‐JNE‐DTS   Murray      Danny        Tennessee        7/15/2011        10/25/2017   Kirtland Packard                                          Less than 10 years between
                                                                                                                         Agree with dates 3M listed.      index and filing.
0:17‐cv‐04904‐JNE‐DTS   Luketich    Richard      Illinois         1/10/2007        10/27/2017   Kennedy Hodges, L.L.P.                                    SOR unconstitional in
                                                                                                                                                          products liability actions.
                                                                                                                                                          See Best v. Taylor Mach.
                                                                                                                                                          Works., 689 N.E.2d 1057 (Ill.
                                                                                                                         Agree with dates 3M listed.      1997)
0:17‐cv‐04999‐JNE‐DTS   Carpenter   Willie       Tennessee        7/31/2008        11/2/2017    Kennedy Hodges, L.L.P.                                    Less than 10 years between
                                                                                                                         Agree with dates 3M listed.      index and filing.
                                            CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 14 of 20



0:17‐cv‐05381‐JNE‐DTS   Bentson   Gary R.     Georgia          3/9/2005         12/7/2017    Kennedy Hodges
                                                                                                                                                Georgia – 10 years, O.C.G.A.
                                                                                                                                                § 51‐1‐11(b)(2), Should not
                                                                                                                                                be included, as this SOR
                                                                                                                                                expressly does not affect
                                                                                                                                                failure to warn claims. Given
                                                                                                                                                all Georgia cases have
                                                                                                                                                asserted failure to warn,
                                                                                                                                                using the SOR to dispose of
                                                                                                                                                some claims would never
                                                                                                                                                dispose of an entire case in
                                                                                                                                                the MDL, Plaintiffs
                                                                                                                                                respectfully submit it is
                                                                                                                                                inappropriate to use an SOR
                                                                                                                                                in Georgia for this exercise.
                                                                                                                  Agree with dates 3M listed.
0:17‐cv‐05497‐JNE‐DTS   Conner    Marty       Ohio             5/30/2007        12/20/2017   Davis Crump, P.C                                   Ohio – 10 years, O.R.C. §
                                                                                                                                                2305.10(C)(1) Should use 12
                                                                                                                                                years, instead of 10 years, to
                                                                                                                                                avoid this exception in the
                                                                                                                                                SOR statute. “However, if
                                                                                                                                                the cause of action accrues
                                                                                                                                                in years 9 or 10, the action
                                                                                                                                                may be commenced within 2
                                                                                                                                                years after the action
                                                                                                                  Agree with dates 3M listed.   accrues.”
0:17‐cv‐05531‐JNE‐DTS   Morris    Larry       Kansas           7/27/2007        12/21/2017   Kennedy Hodges                                     Kansas – 10 years, K.S.A. 60‐
                                                                                                                                                513, Statute of repose does
                                                                                                                                                not apply to latent harms,
                                                                                                                                                which would include
                                                                                                                                                infections from the use of a
                                                                                                                  Agree with dates 3M listed.   Bair Hugger device.
0:18‐cv‐00049‐JNE‐DTS   Rommer    Robert      Georgia          11/12/2007       1/5/2018     Kennedy Hodges
                                                                                                                                                Georgia – 10 years, O.C.G.A.
                                                                                                                                                § 51‐1‐11(b)(2), Should not
                                                                                                                                                be included, as this SOR
                                                                                                                                                expressly does not affect
                                                                                                                                                failure to warn claims. Given
                                                                                                                                                all Georgia cases have
                                                                                                                                                asserted failure to warn,
                                                                                                                                                using the SOR to dispose of
                                                                                                                                                some claims would never
                                                                                                                                                dispose of an entire case in
                                                                                                                                                the MDL, Plaintiffs
                                                                                                                                                respectfully submit it is
                                                                                                                                                inappropriate to use an SOR
                                                                                                                                                in Georgia for this exercise.
                                                                                                                  Agree with dates 3M listed.
                                                 CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 15 of 20



0:18‐cv‐00093‐JNE‐DTS   Ashley    Gearold Ruth     Ohio             7/18/2005        1/12/2018   Bernstein Liebhard LLP                                 Ohio – 10 years, O.R.C. §
                                                                                                                                                        2305.10(C)(1) Should use 12
                                                                                                                                                        years, instead of 10 years, to
                                                                                                                                                        avoid this exception in the
                                                                                                                                                        SOR statute. “However, if
                                                                                                                                                        the cause of action accrues
                                                                                                                                                        in years 9 or 10, the action
                                                                                                                                                        may be commenced within 2
                                                                                                                                                        years after the action
                                                                                                                          agree with dates 3M listed.   accrues.”
0:18‐cv‐00151‐JNE‐DTS   Russell   Janice           Illinois         2/15/2005        1/22/2018   Bernstein Liebhard LLP                                 SOR unconstitional in
                                                                                                                                                        products liability actions.
                                                                                                                                                        See Best v. Taylor Mach.
                                                                                                                                                        Works., 689 N.E.2d 1057 (Ill.
                                                                                                                          Agree with dates 3M listed.   1997)
0:18‐cv‐01117‐JNE‐DTS   Tisdale   Ruth B.          North Carolina   5/6/2002         4/25/2018   Justinian & Associates                                 North Carolina – 6 years (if
                                                                                                                                                        accrual before 10/1/09);
                                                                                                                                                        12 years (if accrual after
                                                                                                                                                        10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                        46.1, Plaintiffs note their
                                                                                                                                                        agreement to the 12 year
                                                                                                                                                        SOR for purposes of this
                                                                                                                                                        exercise is predicated in part
                                                                                                                                                        on Defendants’
                                                                                                                                                        representation the ‘date of
                                                                                                                                                        initial purchase’ will be any
                                                                                                                                                        given plaintiff’s index
                                                                                                                          Agree with dates 3M listed.   surgery.
0:18‐cv‐01614‐JNE‐DTS   Fitton    Irma             North Carolina   9/27/2007        6/9/2018    Kennedy Hodges, L.L.P.                                 North Carolina – 6 years (if
                                                                                                                                                        accrual before 10/1/09);
                                                                                                                                                        12 years (if accrual after
                                                                                                                                                        10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                        46.1, Plaintiffs note their
                                                                                                                                                        agreement to the 12 year
                                                                                                                                                        SOR for purposes of this
                                                                                                                                                        exercise is predicated in part
                                                                                                                                                        on Defendants’
                                                                                                                                                        representation the ‘date of
                                                                                                                                                        initial purchase’ will be any
                                                                                                                                                        given plaintiff’s index
                                                                                                                          Agree with dates 3M listed.   surgery.
                                              CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 16 of 20



0:18‐cv‐01774‐JNE‐DTS   Carpenter   Daisy       North Carolina   6/8/2009         6/28/2018   Brown & Crouppen                                        North Carolina – 6 years (if
                                                                                                                                                      accrual before 10/1/09);
                                                                                                                                                      12 years (if accrual after
                                                                                                                                                      10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                      46.1, Plaintiffs note their
                                                                                                                                                      agreement to the 12 year
                                                                                                                                                      SOR for purposes of this
                                                                                                                                                      exercise is predicated in part
                                                                                                                                                      on Defendants’
                                                                                                                                                      representation the ‘date of
                                                                                                                    BH exposure with infections       initial purchase’ will be any
                                                                                                                    following surgeries on 6/8/09 and given plaintiff’s index
                                                                                                                    10/17/11                          surgery.
0:18‐cv‐01887‐JNE‐DTS   Woody       Richard     North Carolina   4/10/2007        7/6/2018    Kennedy Hodges                                          North Carolina – 6 years (if
                                                                                                                                                      accrual before 10/1/09);
                                                                                                                                                      12 years (if accrual after
                                                                                                                                                      10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                      46.1, Plaintiffs note their
                                                                                                                                                      agreement to the 12 year
                                                                                                                                                      SOR for purposes of this
                                                                                                                                                      exercise is predicated in part
                                                                                                                                                      on Defendants’
                                                                                                                                                      representation the ‘date of
                                                                                                                                                      initial purchase’ will be any
                                                                                                                                                      given plaintiff’s index
                                                                                                                    Agree with dates 3M listed.       surgery.
0:18‐cv‐01918‐JNE‐DTS   Davis       Karen       North Carolina   5/5/2009         7/9/2018    Brown & Crouppen                                        North Carolina – 6 years (if
                                                                                                                                                      accrual before 10/1/09);
                                                                                                                                                      12 years (if accrual after
                                                                                                                                                      10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                      46.1, Plaintiffs note their
                                                                                                                                                      agreement to the 12 year
                                                                                                                                                      SOR for purposes of this
                                                                                                                                                      exercise is predicated in part
                                                                                                                                                      on Defendants’
                                                                                                                                                      representation the ‘date of
                                                                                                                                                      initial purchase’ will be any
                                                                                                                                                      given plaintiff’s index
                                                                                                                    Agree with dates 3M listed.       surgery.
                                            CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 17 of 20



0:18‐cv‐01950‐JNE‐DTS   Payne     Ernest      North Carolina   7/28/2009        7/12/2018   Kennedy Hodges, L.L.P.                                 North Carolina – 6 years (if
                                                                                                                                                   accrual before 10/1/09);
                                                                                                                                                   12 years (if accrual after
                                                                                                                                                   10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                   46.1, Plaintiffs note their
                                                                                                                                                   agreement to the 12 year
                                                                                                                                                   SOR for purposes of this
                                                                                                                                                   exercise is predicated in part
                                                                                                                                                   on Defendants’
                                                                                                                                                   representation the ‘date of
                                                                                                                                                   initial purchase’ will be any
                                                                                                                                                   given plaintiff’s index
                                                                                                                     Agree with dates 3M listed.   surgery.
0:18‐cv‐01999‐JNE‐DTS   Hobbins   Lisa        North Carolina   6/23/2006        7/16/2018   Kennedy Hodges, L.L.P.                                 North Carolina – 6 years (if
                                                                                                                                                   accrual before 10/1/09);
                                                                                                                                                   12 years (if accrual after
                                                                                                                                                   10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                   46.1, Plaintiffs note their
                                                                                                                                                   agreement to the 12 year
                                                                                                                                                   SOR for purposes of this
                                                                                                                                                   exercise is predicated in part
                                                                                                                                                   on Defendants’
                                                                                                                                                   representation the ‘date of
                                                                                                                                                   initial purchase’ will be any
                                                                                                                                                   given plaintiff’s index
                                                                                                                     Agree with dates 3M listed.   surgery.
0:18‐cv‐02010‐JNE‐DTS   Barham    Phyllis     North Carolina   3/8/2007         7/17/2018   Brown & Crouppen                                       North Carolina – 6 years (if
                                                                                                                                                   accrual before 10/1/09);
                                                                                                                                                   12 years (if accrual after
                                                                                                                                                   10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                   46.1, Plaintiffs note their
                                                                                                                                                   agreement to the 12 year
                                                                                                                                                   SOR for purposes of this
                                                                                                                                                   exercise is predicated in part
                                                                                                                                                   on Defendants’
                                                                                                                                                   representation the ‘date of
                                                                                                                                                   initial purchase’ will be any
                                                                                                                                                   given plaintiff’s index
                                                                                                                     Agree with dates 3M listed.   surgery.
                                               CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 18 of 20



0:18‐cv‐02118‐JNE‐DTS   Yelverton   Annie W.     North Carolina   1/23/2009        7/24/2018   The Miller Firm LLC                                 North Carolina – 6 years (if
                                                                                                                                                   accrual before 10/1/09);
                                                                                                                                                   12 years (if accrual after
                                                                                                                                                   10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                   46.1, Plaintiffs note their
                                                                                                                                                   agreement to the 12 year
                                                                                                                                                   SOR for purposes of this
                                                                                                                                                   exercise is predicated in part
                                                                                                                                                   on Defendants’
                                                                                                                                                   representation the ‘date of
                                                                                                                                                   initial purchase’ will be any
                                                                                                                                                   given plaintiff’s index
                                                                                                                     Agree with dates 3M listed.   surgery.
0:18‐cv‐02179‐JNE‐DTS   Yankovich   Brian        North Carolina   6/1/2009         7/26/2018   Kennedy Hodges                                      North Carolina – 6 years (if
                                                                                                                                                   accrual before 10/1/09);
                                                                                                                                                   12 years (if accrual after
                                                                                                                                                   10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                   46.1, Plaintiffs note their
                                                                                                                                                   agreement to the 12 year
                                                                                                                                                   SOR for purposes of this
                                                                                                                                                   exercise is predicated in part
                                                                                                                                                   on Defendants’
                                                                                                                                                   representation the ‘date of
                                                                                                                                                   initial purchase’ will be any
                                                                                                                                                   given plaintiff’s index
                                                                                                                     Agree with dates 3M listed.   surgery.
0:18‐cv‐02186‐JNE‐DTS   Morrison    Richard      North Carolina   7/26/2005        7/26/2018   Brown & Crouppen                                    North Carolina – 6 years (if
                                                                                                                                                   accrual before 10/1/09);
                                                                                                                                                   12 years (if accrual after
                                                                                                                                                   10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                   46.1, Plaintiffs note their
                                                                                                                                                   agreement to the 12 year
                                                                                                                                                   SOR for purposes of this
                                                                                                                                                   exercise is predicated in part
                                                                                                                                                   on Defendants’
                                                                                                                                                   representation the ‘date of
                                                                                                                                                   initial purchase’ will be any
                                                                                                                                                   given plaintiff’s index
                                                                                                                     Agree with dates 3M listed.   surgery.
                                              CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 19 of 20



0:18‐cv‐02215‐JNE‐DTS   Whitfield   John        North Carolina   1/13/2009        7/30/2018   Kennedy Hodges                                         North Carolina – 6 years (if
                                                                                                                                                     accrual before 10/1/09);
                                                                                                                                                     12 years (if accrual after
                                                                                                                                                     10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                     46.1, Plaintiffs note their
                                                                                                                                                     agreement to the 12 year
                                                                                                                                                     SOR for purposes of this
                                                                                                                                                     exercise is predicated in part
                                                                                                                                                     on Defendants’
                                                                                                                                                     representation the ‘date of
                                                                                                                                                     initial purchase’ will be any
                                                                                                                                                     given plaintiff’s index
                                                                                                                       Agree with dates 3M listed.   surgery.
0:18‐cv‐02306‐JNE‐DTS   James       Linda       North Carolina   2/22/2005        8/7/2018    Kennedy Hodges                                         North Carolina – 6 years (if
                                                                                                                                                     accrual before 10/1/09);
                                                                                                                                                     12 years (if accrual after
                                                                                                                                                     10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                     46.1, Plaintiffs note their
                                                                                                                                                     agreement to the 12 year
                                                                                                                                                     SOR for purposes of this
                                                                                                                                                     exercise is predicated in part
                                                                                                                                                     on Defendants’
                                                                                                                                                     representation the ‘date of
                                                                                                                                                     initial purchase’ will be any
                                                                                                                                                     given plaintiff’s index
                                                                                                                       Agree with dates 3M listed.   surgery.
0:18‐cv‐02307‐JNE‐DTS   King        Terry       Kansas           3/11/2008        8/7/2018    Kennedy Hodges                                         Kansas – 10 years, K.S.A. 60‐
                                                                                                                                                     513, Statute of repose does
                                                                                                                                                     not apply to latent harms,
                                                                                                                                                     which would include
                                                                                                                                                     infections from the use of a
                                                                                                                       Agree with dates 3M listed.   Bair Hugger device.
0:18‐cv‐02391‐JNE‐DTS   Vonville    Natalie     North Carolina   8/26/2009        8/15/2018   Kennedy Hodges, L.L.P.                                 North Carolina – 6 years (if
                                                                                                                                                     accrual before 10/1/09);
                                                                                                                                                     12 years (if accrual after
                                                                                                                                                     10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                     46.1, Plaintiffs note their
                                                                                                                                                     agreement to the 12 year
                                                                                                                                                     SOR for purposes of this
                                                                                                                                                     exercise is predicated in part
                                                                                                                                                     on Defendants’
                                                                                                                                                     representation the ‘date of
                                                                                                                                                     initial purchase’ will be any
                                                                                                                                                     given plaintiff’s index
                                                                                                                       Agree with dates 3M listed.   surgery.
                                             CASE 0:15-md-02666-JNE-DTS Doc. 2000-2 Filed 06/26/19 Page 20 of 20



0:18‐cv‐02750‐JNE‐DTS   Hicks      Mildora     Tennessee        5/31/2012        9/25/2018    Gustafson Gluek PLLC
                                                                                                                                                              Less than 10 years between
                                                                                                                                                              index and filing. Tennessee –
                                                                                                                                                              6/10 years
                                                                                                                                                              T.C.A. § 29‐28‐103Plaintiffs
                                                                                                                                                              note their agreement to
                                                                                                                                                              using 10 year SOR for
                                                                                                                                                              purposes of this exercise is
                                                                                                                                                              predicated in part on
                                                                                                                                                              Defendants’ representation
                                                                                                                                                              that the relevant index
                                                                                                                                                              surgery will be the triggering
                                                                                                                                Agree with dates 3M listed.   event for Tennessee.
0:18‐cv‐03372‐JNE‐DTS   Whitaker   Melisa      Tennessee        8/22/2012        12/12/2018   Skikos Crawford Skikos & Joseph
                                                                                                                                                              Less than 10 years between
                                                                                                                                                              index and filing. Tennessee –
                                                                                                                                                              6/10 years
                                                                                                                                                              T.C.A. § 29‐28‐103Plaintiffs
                                                                                                                                                              note their agreement to
                                                                                                                                                              using 10 year SOR for
                                                                                                                                                              purposes of this exercise is
                                                                                                                                                              predicated in part on
                                                                                                                                                              Defendants’ representation
                                                                                                                                                              that the relevant index
                                                                                                                                                              surgery will be the triggering
                                                                                                                                Agree with dates 3M listed.   event for Tennessee.
0:18‐cv‐03384‐JNE‐DTS   Hawkins    Deana       North Carolina   7/28/2008        12/12/2018   Justinian & Associates PLLC                                     North Carolina – 6 years (if
                                                                                                                                                              accrual before 10/1/09);
                                                                                                                                                              12 years (if accrual after
                                                                                                                                                              10/1/09), N.C. Gen. Stat. § 1‐
                                                                                                                                                              46.1, Plaintiffs note their
                                                                                                                                                              agreement to the 12 year
                                                                                                                                                              SOR for purposes of this
                                                                                                                                                              exercise is predicated in part
                                                                                                                                                              on Defendants’
                                                                                                                                                              representation the ‘date of
                                                                                                                                                              initial purchase’ will be any
                                                                                                                                                              given plaintiff’s index
                                                                                                                                Agree with dates 3M listed.   surgery.
